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3
                           UNITED STATES DISTRICT COURT
4
                          EASTERN DISTRICT OF CALIFORNIA
5

6
     UNITED STATES OF AMERICA,            No.   2:16-cr-00001-GEB
7
                   Plaintiff,
8
          v.
9
     ZALATHIEL AGUILA,
10
                   Defendant.
11

12   UNITED STATES OF AMERICA,
                                          No.   2:16-cr-0046-GEB
13                 Plaintiff,
14        v.
                                          TRIAL CONFIRMATION ORDER
15   SERGIO ROMAN BARRIENTOS, and
     ZALATHIEL AGUILA,
16
                  Defendants.
17

18              Trial     in   the   above-captioned     case,    scheduled    to

19   commence at 9:00 a.m. on February 6, 2018, was confirmed at the

20   hearing held on December 1, 2017.

21                              EVIDENTIARY DISPUTES

22              All evidentiary disputes capable of being resolved by

23   in limine motions shall be filed no later than January 5, 2018.

24   Oppositions to the motions or statements of non-opposition shall

25   be filed no later than January 12, 2018.             Any reply shall be

26   filed no later than January 19, 2018.          Hearing on any in limine

27   motion is scheduled to commence at 9:00 a.m. on January 26, 2018.

28              Any     reasonably   anticipated    dispute      concerning   the
                                          1
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1    admissibility of evidence that is not briefed in an in limine

2    motion shall be included in trial briefs as explained in the

3    below footnote.

4                                  TRIAL PREPARATION

5                 A.    No later than five court days before the trial

6    commencement date, the following documents shall be filed:

7                       (1)   proposed   jury     instructions   and     a   proposed

8    verdict form (and the Courtroom Deputy Clerk shall be emailed a

9    word version of the documents);

10                      (2)   proposed voir dire questions to be asked by

11   the Court;

12                      (3)   trial briefs;1 and

13                      (4)   a    document        containing     a      sufficient

14   explanation of the particular factual situation involved in the

15   trial so that we can ascertain whether a potential juror can be a

16   fair and impartial juror in this case.

17                B.    The government’s exhibits shall be numbered with

18   stickers.      Should the defendant elect to introduce exhibits at

19   trial, such exhibits shall be designated by alphabetical letter

20   with stickers.      The parties may obtain exhibit stickers from the
21   Clerk’s Office.      The government shall file an exhibit list and a

22   witness list as soon as practicable.

23                C.    The jury will be told that it is estimated that it

24   will take six (6) court days to present evidence to the jury and

25   to complete closing arguments.             Each party has ten (10) minutes

26   1
       To ensure that the trial proceeds at a reasonable pace, the government is
     required to include in its trial brief a summary of points of law, including
27   reasonably anticipated disputes concerning admissibility of evidence, legal
     arguments, and citations of authority in support thereof. The defense is also
28   encouraged to do this to the extent it opines it should.
                                            2
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1    for   voir     dire,   which     may   be   used      after   the   judge     completes

2    judicial voir dire (unless the judge decides to conduct all voir

3    dire).    Two (2) alternate jurors will be empaneled, if feasible.

4                   The “struck jury” system will be used to select the

5    jury unless this case is reassigned and the reassigned judge

6    elects    to    use    another    system.          The    struck    jury    system    is

7    “designed to allow both the prosecution and the defense a maximum

8    number of peremptory challenges.                 The venire . . . start[s] with

9    about    3[6]    potential     jurors,      from      which   the   defense    and   the

10   prosecution alternate[] with strikes until a petite panel of 12

11   jurors remain[s].”           Powers v Ohio, 499 U.S. 400, 404-05 (1991);

12   see also United States v. Esparza-Gonzalez, 422 F.3d 897, 899

13   (9th Cir. 2005) (discussing “the ‘struck jury’ system to select

14   jurors”).

15                  The    Jury   Administrator         randomly     selects       potential

16   jurors and places their names on a list that will be provided to

17   each party in the numerical sequence in which they were randomly

18   selected.        Each potential juror will be placed in his or her

19   randomly-selected seat.           The first 12 randomly selected potential

20   jurors on the list will constitute the petit jury unless one or
21   more of those 12 is excused.                    Assuming that the first listed

22   potential juror is excused, the thirteenth listed potential juror

23   becomes one of the twelve jurors that could be empaneled as the

24   petit jury.

25                  The Courtroom Deputy Clerk gives each potential juror a

26   large    laminated      card   depicting        the    numerical    order     that   the
27   potential juror was randomly selected.

28                  Following the voir dire questioning, each side take
                                                 3
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1    turns     exercising       peremptory       challenges.             The    parties       will    be

2    given a sheet of paper (“strike sheet”) that will be used to

3    silently exercise peremptory challenges in the manner specified

4    on the strike sheet.                   If a party elects to pass rather than

5    exercise a particular peremptory challenge, the word “pass” shall

6    be     placed      on    the    strike     sheet       for     that    waived         peremptory

7    challenge and that challenge is waived for the then-constituted

8    jury panel.         See generally, United States v. Yepiz, 685 F.3d 840,

9    845-46 (9th Cir. 2012) (indicating “‘use it or lose it’ voir dire

10   [waiver]     practice”          is    authorized       if    “the     composition        of     the

11   panel” does not change).

12                 The       parties       requested      that    the    alternate         jurors     be

13   retained     after       the    jury     retires       to    deliberate,        and    that     the

14   alternate jurors would then no longer be required to appear in

15   court unless directed to appear by the Courtroom Deputy.

16                 D.        If any party desires training on the court’s audio

17   visual      equipment          that     party     should      contact          Richard      Arendt

18   (rarendt@caed.uscourts.gov)                 in       the     IT     Department         to     make

19   arrangements        for     training.            The    courtroom         is    available       for

20   training Monday through Thursday between 8:00 and 8:30 a.m.                                      If
21   training is not needed and a party wants to test the equipment,

22   this can be done on the morning of trial between 8:00 and 8:30

23   a.m.

24                 E.        Each party has fifteen (15) minutes to make an

25   opening statement.

26                 F.        After closing jury instructions, the judge intends
27   to communicate the following with the Court Security Officer and

28   the jury:
                                                      4
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1                    The Courtroom Deputy shall administer
                the oath to the United States Court Security
2               Officer.

3                    Sir, the jury may take a break and/or
                break for a meal, without consulting me; the
4               breaks are under your general supervision.
                If the jury adjourns for lunch, a Court
5               Security Officer shall immediately tell the
                Courtroom Deputy so that my staff, the
6               lawyers, the parties, and I can be relieved
                from standby status while the jury adjourns
7               deliberations.

8                    Should the jury adjourn later today,
                jurors are permitted tomorrow to proceed
9               directly to the jury deliberation room, but
                jurors are to wait until all jurors are
10              present before resuming deliberations because
                all jurors must be present when the jury
11              deliberates. Jury deliberations shall occur,
                as needed, until 4:30 p.m. when the jury
12              shall adjourn for the evening; and the jury
                shall resume deliberations the next day
13              commencing at 9:00 a.m.

14                   A Court Security Officer will maintain a
                post outside the jury deliberation room to
15              protect the jury from outside influences or
                visitors.   The Court Security Officer will
16              not communicate with a juror about the case
                or    the   court    system   because    such
17              conversations could be misconstrued as a
                communication that seeks to influence a
18              juror. What I just said does not apply to a
                note that a juror and/or the jury gives to
19              the Court Security Officer, because a juror
                and/or the jury is required to inform the
20              Court Security Officer that a note needs to
                be given to the judge.
21
                      Each juror may continue possessing his
22              or her cell phone or other communication
                device, but that device shall be turned off
23              when the jury is engaged in deliberation.
                The Court Security Officer shall escort the
24              jurors to the jury deliberation room.

25              G.    Further the Court intends to tell the alternate

26   jurors what follows:

27                   Under federal law, an alternate juror
                can only go into the jury deliberation room
28              if the alternate juror replaces a juror.
                                          5
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1               Therefore, you may leave the courthouse now
                and do what you normally do when you are not
2               on a jury.    However, you are still bound by
                the   admonitions    I  gave   in   the   jury
3               instructions,    since  you   may   eventually
                replace one of the deliberating jurors.     If
4               you are needed to replace a juror, the
                Courtroom Deputy will tell you to appear in
5               this courtroom. Provide the Courtroom Deputy
                with your contact information before you
6               leave the courtroom.        If the trial is
                resolved, the Courtroom Deputy will inform
7               you that you are discharged from further
                service on this case and you are released
8               from the admonitions, including the directive
                that you not talk to others about this case.
9               In the event I do not see you again, thank
                you for your service on this case.
10
                Any objection to or proposed modification to either or
11
     both communications in sections F and G shall be filed no later
12
     than five (5) days after this order is filed.
13
     Dated:   December 15, 2017
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